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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

 In re: BOY SCOUTS OF AMERICA                      Chapter 11
 AND DELAWARE BSA, LLC
                        Debtors.                   Bankruptcy Case
                                                   No. 20-10343-LSS
 NATIONAL UNION FIRE INSURANCE
 CO. OF PITTSBURGH, PA, et al.,                    (Jointly Administered)
                     Appellants
                        -v.-
                                                   Case No. 22-cv-01237-RGA
 BOY SCOUTS OF AMERICA AND
 DELAWARE BSA, LLC,
                     Appellees

                               CERTIFICATE OF SERVICE

        I, Deirdre M. Richards, hereby certify that on January 13, 2023, I caused a
 copy of the forgoing MOTION OF THE CERTAIN INSURERS TO
 SUPPLEMENT THE RECORD to be served on all registered users of the Court’s
 Case Management/Electronic Case File (“CM/ECF”) in this case via CM/ECF.



  Dated: January 13, 2023           BY: /s/ Deirdre M. Richards
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